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                                                                                          AT LEXINGTON
                                                                                        ROBERT R. CARR
                                                                                    CLERK U.S. DISTRICT COURT
                                  IJNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                        LEXINGTON DIVISION
                                 CIVIL ACTION NO. 5:12-cv-00279-JMH

                                            Electronically filed

      DARLENE WHALEY                                                                   PLAINTIFF

      V.
      BEAM INC. and MAKER'S MARK
      DISTILLERY, INC.                                                              DEFENDANTS


                        AGREED ORDER OF DISMISSAL WITH PREJUDICE


             By agreement of the Plaintiff and Defendant Beam Inc .• and the Court being sufficiently

      advised and having considered same,

             IT IS HEREBY ORDERED AND ADJUDGED that all claims asserted in the foregoing

      action against Beam Inc. are DISMISSED WITH PREJUDICE, with the parties bearing their

      own costs and attorneys 'J.ees.

             This the      2- daYOf~                                 ,2013.
Case: 5:12-cv-00279-JMH-REW Doc #: 65 Filed: 12/02/13 Page: 2 of 2 - Page ID#: 200




      AGREED TO; TO BE ENTERED:


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